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Information to identify the case:
                    Kathy Ann Kays                                     Social Security number or ITIN:   xxx−xx−5234
Debtor:
                    Name                                               EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court − Southern District of Indiana
Case number:        18−70589−BHL−7A



Order of Discharge                                                                                                           12/2015

IT IS ORDERED that a discharge under 11 U.S.C. § 727 is granted to the following debtor:

           Kathy Ann Kays
           fka Kathy Ann Kleinschmidt, fka Kathy Ann Wilson, fka Kathy Ann Lindsey, fka Kathy Ann Michels,
           fka Kathy Ann Powers, fka Kathy Ann Fox



Dated: September 11, 2018                                            By the court: /s/ Basil H. Lorch III
                                                                                   Judge, U.S. Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                     Pursuant to 11 U.S.C. § 524(c) or (f), this order
and it does not determine how much money, if                       does not prevent the debtor from paying any debt
any, the trustee will pay creditors.                               voluntarily or from paying reaffirmed debts
                                                                   according to the reaffirmation agreement.
Creditors cannot collect discharged debts
This order means that no one may make any                          Most debts are discharged
attempt to collect a discharged debt from the                      Most debts are covered by the discharge, but not
debtor personally. For example, creditors cannot                   all. Generally, a discharge removes the debtor's
sue, garnish wages, assert a deficiency, or                        personal liability for debts owed before the
otherwise try to collect from the debtor personally                debtor's bankruptcy case was filed.
on discharged debts. Creditors cannot contact the
debtor by mail, phone, or otherwise in any attempt                 Also, if this case began under a different chapter
to collect the debt personally. Creditors who                      of the Bankruptcy Code and was later converted
violate this order can be required to pay the                      to chapter 7, debts owed before the conversion
debtor damages and attorney's fees.                                are discharged.

However, a creditor with a lien may enforce a                      In a case involving community property, special
claim against the debtor's property subject to that                rules protect certain community property owned
lien unless the lien was avoided or eliminated. For                by the debtor's spouse, even if that spouse did
example, a creditor may have the right to                          not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.
                                                                                                    For more information, see page 2 >




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Debtor Kathy Ann Kays                                                                       Case number 18−70589−BHL−7A

Explanation of Bankruptcy Discharge in a Chapter 7 Case (continued)


Some debts are not discharged                                     Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are                     agreement are not discharged.
listed below:
                                                                  In addition, this discharge does not stop creditors
• Debts that are domestic support obligations.                    from collecting from anyone else who is also
                                                                  liable on the debt, such as an insurance company
• Debts for most student loans.                                   or a person who cosigned or guaranteed a loan.

• Debts for most taxes.
                                                                    This information is only a general summary
• Debts that the bankruptcy court has decided or                    of the bankruptcy discharge; some
  will decide are not discharged in this bankruptcy                 exceptions exist. Because the law is
  case.                                                             complicated, you should consult an
                                                                    attorney to determine the exact effect of the
• Debts for most fines, penalties, forfeitures, or                  discharge in this case.
  criminal restitution obligations.

• Some debts which the debtor did not properly
  list.

• Debts for certain types of loans owed to
  pension, profit sharing, stock bonus, or
  retirement plans.

• Debts for death or personal injury caused by
  operating a vehicle while intoxicated.




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